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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 23-CV-81289-ROSENBERG

SECURITIES AND EXCHANGE
COMMISSION,

                     Plaintiff,

v.

LUFKIN ADVISORS, LLC, et al.,

                     Defendants.
                                              /

                  ORDER STAYING CASE AND DIRECTING THE CLERK
            OF THE COURT TO CLOSE THIS CASE FOR STATISTICAL PURPOSES

          THIS CAUSE comes before the Court upon the Joint Motion to Stay at docket entry 33.

The Court has reviewed the Motion and is otherwise fully advised in the premises. Therefore, it is

hereby ORDERED AND ADJUDGED:

          1.         This case is STAYED for sixty (60) days until July 2, 2024.

          2.         The parties are ORDERED to file within sixty (60) days either the Consents and
                     Final Judgments or a Joint Status Report detailing the status of the settlement offer
                     and proposing new deadlines.

          3.         The Clerk of the Court is directed to CLOSE THIS CASE FOR STATISTICAL
                     PURPOSES; this closure shall not affect the merits of any party’s claim.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 3rd day of May,

2024.


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                                                          ROBIN L. ROSENBERG
Copies furnished to Counsel of Record                     UNITED STATES DISTRICT JUDGE
